                          Nos. 25-1169, 25-1170
               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIRST CIRCUIT

       O. DOE; BRAZILIAN WORKER CENTER; LA COLABORATIVA,
                                            Plaintiffs-Appellees,
                                       v.
DONALD J. TRUMP, in their official capacity as President of the United States;
  US DEPARTMENT OF STATE; MARCO RUBIO, in their official capacity as
  Secretary of State; US SOCIAL SECURITY ADMINISTRATION; MICHELLE
 KING, in their official capacity as Acting Commissioner of Social Security,
                                            Defendants-Appellants.

STATE OF NEW JERSEY; COMMONWEALTH OF MASSACHUSETTS; STATE OF
 CALIFORNIA; STATE OF COLORADO; STATE OF CONNECTICUT; STATE OF
DELAWARE; DISTRICT OF COLUMBIA; STATE OF HAWAII; STATE OF MAINE;
STATE OF MARYLAND; DANA NESSEL, Attorney General for the People of the
  State of Michigan; STATE OF MINNESOTA; STATE OF NEVADA; STATE OF
 NEW MEXICO; STATE OF NEW YORK; STATE OF NORTH CAROLINA; STATE
OF RHODE ISLAND; STATE OF VERMONT; STATE OF WISCONSIN; CITY AND
                            COUNTY OF SAN FRANCISCO,
                                                Plaintiffs-Appellees,
                                          v.
DONALD J. TRUMP, in their official capacity as President of the United States;
   US DEPARTMENT OF STATE; MARCO RUBIO, in their official capacity as
   Secretary of State; US DEPARTMENT OF HOMELAND SECURITY; KRISTI
     NOEM, in their official capacity as Secretary of Homeland Security; US
 DEPARTMENT OF HEALTH AND HUMAN SERVICES; ROBERT F. KENNEDY,
  JR., in their official capacity as Secretary of Health and Human Services; US
    SOCIAL SECURITY ADMINISTRATION; MICHELLE KING, in their official
     capacity as Acting Commissioner of Social Security; UNITED STATES,
                                                Defendants-Appellants.

               On Appeal from the United States District Court
                     for the District of Massachusetts

                BRIEF AMICUS CURIAE OF FORMER
         NATIONAL SECURITY OFFICIAL JOSHUA STEINMAN
     IN SUPPORT OF DEFENDANTS-APPELLANTS AND REVERSAL
DANIEL Z. EPSTEIN            JUDD E. STONE II
AMERICA FIRST                CHRISTOPHER D. HILTON
  LEGAL FOUNDATION           ARI CUENIN
611 Pennsylvania Ave. SE     STONE HILTON PLLC
  #231                       600 Congress Ave., Ste. 2350
Washington, DC 20003         Austin, Texas 78701
daniel.epstein@aflegal.org   judd@stonehilton.com
(202) 964-3271               (737) 465-7248

                             Counsel for Amicus Curiae
              RULE 26.1 DISCLOSURE STATEMENT

     Per Rule 26.1 of the Federal Rules of Appellate Procedure, amicus

curiae is a natural person and thus lacks a parent corporation or any

shares that could be owned by a publicly held corporation.

                                            /s/ Judd E. Stone II
                                            Judd E. Stone II




                                   i
                                   TABLE OF CONTENTS

Rule 26.1 Disclosure Statement ................................................................. i
Table of Contents ......................................................................................ii
Table of Authorities ................................................................................. iii
Identity and Interest of Amicus Curiae .................................................... 1
Summary of Argument .............................................................................. 2
Argument ................................................................................................... 3
  I.    The EO Is Faithful to the Constitution and Serves the Interests of
        National Security. ............................................................................ 5
  II. National-Security Concerns Also Support the Executive in the
      Irreparable-Harm Analysis. ........................................................... 17
Conclusion ............................................................................................... 21
Certificate of Compliance ........................................................................ 22
Certificate of Service ............................................................................... 22




                                                      ii
                              TABLE OF AUTHORITIES

Cases

Boumediene v. Bush,
 553 U.S. 723 (2008) .......................................................................... 4, 19
Crosby v. National Foreign Trade Council,
 530 US 363 (2000) ................................................................................ 20
Dep’t of State v. Munoz,
 602 U.S. 899 (2024) .............................................................................. 11
Harisiades v. Shaughnessy,
 342 U.S. 580 (1952) .............................................................................. 20
Henderson v. Shinseki,
 562 U.S. 428 (2011) .............................................................................. 21
Holder v. Humanitarian L. Project,
 561 U.S. 1 (2010) ............................................................................ 11, 12
INS v. Legalization Assistance Project of the L.A. Cty. Fed’n of Labor,
  510 U.S. 1301 (1993) ............................................................................ 17
Mathews v. Diaz,
 426 U.S. 67 (1976) ................................................................................ 12
Nken v. Holder,
 556 U.S. 418 (2009) .......................................................................... 4, 17
Reno v. Flores,
 507 U.S. 292 (1993) .............................................................................. 18
Trump v. Hawaii,
 585 U.S. 667 (2018) ...................................................... 11, 12, 16, 17, 18
U.S. Dep’t of Labor v. Triplett,
 494 U.S. 715 (1990) .............................................................................. 18
United States v. Wong Kim Ark,
 169 U.S. 649 (1898) ................................................................................ 7
Ziglar v. Abbasi,
  582 U.S. 120 (2017) .............................................................................. 17


                                                  iii
Zivotofsky ex rel. Zivotofsky v. Kerry,
  576 U.S. 1 (2015) .................................................................................. 20

Statutes

8 U.S.C. § 1401(a) .............................................................................. 6, 7, 8

Other Authorities

2 Farrand’s Records 68 (Gouveneur Morris) ............................................ 9
Alexander Hamilton, Speech at the Constitutional Convention,
 in JAMES MADISON’S NOTES OF DEBATES IN THE FEDERAL CONVENTION
 (June 8, 1787) ......................................................................................... 8
Amy Swearer, Subject to the (Complete) Jurisdiction Thereof: Salvaging
 the Original Meaning of the Citizenship Clause,
 24 Tex. Rev. L. & Pol. 135 (2019) ........................................................... 7
Attorney General Prepared Remarks on the National-Security Entry-
 Exit Registration System (June 6, 2002) ............................................. 10
How the FBI Busted Anna Chapman and the Russian Spy Ring,
 ABC NEWS (Nov. 1, 2011) ..................................................................... 14
James T. Kimer, Landmarks in US Immigration Policy,
  NACLA.ORG (Sept. 25, 2007)................................................................ 10
Kevin J. Fandl, Immigration Posses: U.S. Immigration Law and Local
 Enforcement Practices,
 34 J. LEGIS. 16 (2008) ........................................................................... 11
Kevin P. Riehle, Russia’s Intelligence Illegals Program:
 An Enduring Asset,
 35 INTELLIGENCE & NAT’L SEC. 385, 386 (2020). ............................ 15, 16
Kristin A. Vara, Espionage: A Comparative Analysis,
 22 ILSA J. INT’L & COMP. L. 61 (2015) ................................................. 15
Shaun Walker, “I Thought I Was Smarter Than Almost Everybody”: My
 Double Life as a KGB Agent, THE GUARDIAN (Feb. 11, 2017)........ 15, 16
THE FEDERALIST No. 68
 (Clinton Rossiter, ed. 1961) (Alexander Hamilton) ............................... 8

                                                    iv
Timothy Meyer & Ganesh Sitaraman, The National Security
  Consequences of the Major Questions Doctrine,
  122 MICH. L. REV. 55 (2023) ................................................................. 19

Constitutional Provisions

U.S. Const. amend. XIV ............................................................................ 3
U.S. Const. amend. XIV, § 1...................................................................... 6
U.S. Const. art, II, § 3 ............................................................................... 4
U.S. Const. art. IV, § 4 ........................................................................ 9, 13

Executive Orders & Proclamations

Exec. Order No. 14,159,
 90 Fed. Reg. 8443 (Jan. 20, 2025) ............................................ 10, 13, 16
Exec. Order No. 14,160,
 90 Fed. Reg. 8449 (Jan. 20, 2025) ...................................................... 2, 6
Exec. Order No. 14,165,
 90 Fed. Reg. 8467 (Jan. 20, 2025) ........................................................ 13
Proclamation No. 10,886,
 90 Fed. Reg. 8327 (Jan. 20, 2025) ........................................................ 13
Proclamation No. 10,888,
 90 Fed. Reg. 8333 (Jan. 20, 2025) ........................................................ 13




                                                    v
        IDENTITY AND INTEREST OF AMICUS CURIAE 1

     Amicus curiae Joshua Steinman is a former national security

official and the Co-founder and CEO of Galvanick, a cybersecurity firm

specializing in securing industrial facilities. Prior to that role, Mr.

Steinman served on the White House National Security Council Staff

from 2017 to 2021 as Deputy Assistant to the President and Senior

Director for Cyber. In that role, his duties included oversight of all cyber

and telecommunications policy for the federal government. Mr. Steinman

has also served as a naval officer, serving in the United States and

abroad, and in the private sector as a senior executive in Silicon Valley.

While assigned to an emerging technologies task force answering to the

Chief of Naval Operations, he successfully advocated for the creation of

the Defense Innovation Unit, an entity formed to help the Department of

Defense integrate emerging technology and national security.

     Amicus has worked at the most senior levels of the federal

government and with the highest-level security clearance. He has




1 No counsel for any party has authored this brief in whole or in part, and

no entity or person other than amicus and his counsel made any
monetary contribution intended to fund this brief’s preparation or
submission. All parties consent to the filing of this brief.

                                     1
devoted his career to combating complex security threats to the United

States. These threats are perhaps no more complex and consequential

than those involving the United States’s assessment of and response to

foreign intelligence assets in an increasingly globalized, interconnected

geopolitical landscape. Such threats include the exploitation of

vulnerabilities in United States citizenship requirements on the part of

foreign adversaries.

     Amicus respectfully submits this brief to offer the Court a

perspective on the national-security contours of this case. In particular,

amicus writes to describe the implications of place-of-birth and

citizenship derived therefrom for national security, and why interference

with the President’s Executive Order (the “EO”) giving effect to the

Constitution’s citizenship provisions may leave the United States

vulnerable to harm from its enemies abroad. See Exec. Order No. 14,160,

90 Fed. Reg. 8449 (Jan. 20, 2025).

                       SUMMARY OF ARGUMENT

     I.    The Fourteenth Amendment of the Constitution provides, in

relevant part, that a person attains U.S. citizenship if he is both “born or

naturalized in the United States” and “subject to the jurisdiction thereof.”



                                     2
U.S. Const. amend. XIV. As the Executive has argued, the EO rightly

recognizes that the automatic grant of birthright citizenship to a child

born on U.S. soil regardless of whether his parents are lawfully and

permanently in the United States is not required by the Fourteenth

Amendment. The district court’s ruling was not in keeping with the text

of the Constitution and the national-security interests it serves.

     II.   The foregoing principles also support the Executive’s

argument that the district court abused its discretion because the

remaining factors needed for a preliminary injunction favor the

Executive. The injunction harms the Executive by interfering in the

President’s management of foreign affairs and national security. And

because of the unique challenges posed by U.S.-born foreign-intelligence

assets, courts are ill-suited to redress threats to national security from

potential U.S.-born foreign intelligence assets that would have been

stymied by the EO.

                              ARGUMENT

     The district court erred in granting a preliminary injunction, which

foreclosed the EO’s treatment of birthright citizenship on Fourteenth

Amendment grounds. This Court has recognized that constitutional



                                    3
liberties must coexist with longstanding national-security interests.

“Established legal doctrine must be consulted for its teaching. Remote in

time it may be; irrelevant to the present it is not. . . . Security subsists,

too, in fidelity to freedom’s first principles.” Boumediene v. Bush, 553 U.S.

723, 797 (2008) (cleaned up). Amicus agrees that the district court’s

preliminary injunction is not in keeping with those principles. The

injunction misunderstands the Fourteenth Amendment, raising needless

conflict with the United States’s national-security interests and the

President’s obligation to see the Constitution faithfully executed. See

U.S. Const. art. II, § 3. Amicus thus focuses on two showings necessary

to establish that the district court abused its discretion in granting a

preliminary injunction: likelihood of success on the merits and

irreparable harm. See Nken v. Holder, 556 U.S. 418, 426 (2009).

     First, the Executive and others have highlighted flaws in the

constitutional analysis of Fourteenth Amendment challenges to the EO.

Amicus, being well-versed in the complex national-security challenges

facing the United States, is uniquely situated to shed further light on the

conflict between unbounded birthright citizenship and our constitutional

system. As a former national security official, amicus has diligently



                                     4
worked to uphold constitutional values like those embraced in the

Fourteenth Amendment while also balancing the national-security

interests vital to the continued safety and security of the United States.

     Second, regarding irreparable harm, the EO’s national-security

implications cut against the preliminary injunction. Because the

Constitution does not confer citizenship in the manner claimed by

plaintiffs, this case poses important questions about the separation of

powers. Vacating the preliminary injunction allows the President to

exercise his lawful authority to faithfully execute the law without undue

interference from the courts, which are particularly ill-suited to second-

guess the political branches on national security.

I.   The EO Is Faithful to the Constitution and Serves the
     Interests of National Security.

     The district court’s preliminary injunction should be reversed

because it errs as to the scope of citizenship guaranteed by the

Fourteenth Amendment. Moreover, the EO’s interpretation of the

Constitution aligns with important national-security aims.

     A. Under the text of the Fourteenth Amendment’s Citizenship

Clause, citizenship is not automatically conferred to all persons born in

the United States. The Citizenship Clause of the Fourteenth Amendment


                                    5
provides that “[a]ll persons born or naturalized in the United States, and

subject to the jurisdiction thereof, are citizens of the United States and

of the State wherein they reside.” U.S. Const. amend. XIV, § 1.

     The EO addresses what it means to be “subject to the jurisdiction”

of the United States. Exec. Order No. 14,160, § 1. The EO examines the

Citizenship Clause in reference to the applicable statutory text

accompanying it, which extends U.S. citizenship to “a person born in the

United States, and subject to the jurisdiction thereof.” 8 U.S.C. § 1401(a).

The EO recognizes that the Constitution and Congress do not

automatically extend citizenship to a person born in the United States

whose: (1) mother was unlawfully present and father was not a citizen or

lawful permanent resident or (2) mother was present lawfully but only

temporarily and father was not a citizen or lawful permanent resident.

Exec. Order No. 14,160, § 1. The EO instructs relevant federal authorities

with respect to documentation policies and regulations consistent with

those narrow limitations. Id. §§ 2-3.

     There is no dispute that there are limitations on deriving U.S.

citizenship solely from the geographic place of one’s birth. See generally

Amy Swearer, Subject to the (Complete) Jurisdiction Thereof: Salvaging



                                     6
the Original Meaning of the Citizenship Clause, 24 TEX. REV. L. & POL.

135, 143 (2019). Moreover, no one challenges other well-established

exceptions for geographically derived birthright citizenship, such as for

children of foreign diplomats, whose “exclusion from birthright

citizenship is uncontested.” Id. at 149 & n.35. Even the Supreme Court

in United States v. Wong Kim Ark, 169 U.S. 649, 652-53 (1898), spoke in

limited terms when it examined how the Citizenship Clause applied to a

child born in the United States to parents who were lawfully present

Chinese aliens permanently domiciled in the United States. The Court

reasoned that “[e]very citizen or subject of another country, while

domiciled here, is within the allegiance and the protection, and

consequently subject to the jurisdiction, of the United States” for

purposes of the Citizenship Clause. Id. at 693. As the Executive argues,

a contrary understanding “leaves Congress and the Executive Branch

powerless to address concerns about individuals manipulating or flouting

the nation’s immigration laws” to derive geographically derived

birthright U.S. citizenship. Appellants’ Br. 2. 2


2 Because the EO addresses citizenship under 8 U.S.C. § 1401(a), this

brief does not address the other avenues to U.S. citizenship that Congress
has or could have provided elsewhere. Amicus takes no position on U.S.

                                     7
     Amicus respectfully submits that national-security implications

should be considered when interpreting the Constitution, especially

when such concerns were known to its Framers. For instance, Alexander

Hamilton warned, “foreign powers” would “not be idle spectators” in

American affairs: “They will interpose, the confusion will increase, and a

dissolution of the Union ensue.” Alexander Hamilton, Speech at the

Constitutional Convention, in JAMES MADISON’S NOTES OF DEBATES IN THE

FEDERAL CONVENTION (June 8, 1787). Hamilton elsewhere insisted that

the Constitution must give “provident and judicious attention” to

addressing “the desire in foreign powers to gain an improper ascendant

in our councils.” THE FEDERALIST NO. 68, at 412-13 (Alexander Hamilton)

(Clinton Rossiter, ed. 1961).

     Indeed, concerns about foreign influence provided powerful

motivation to enshrine other constitutional protections. For instance,

foreign influence motivated the express inclusion of an impeachment

mechanism in the Constitution:

     [The Executive] may be bribed by a greater interest to betray
     his trust; and no one would say that we ought to expose

citizenship in this brief beyond the narrow issue of geographically
derived birthright U.S. citizenship under Section 1401(a) as it relates to
the EO.

                                    8
     ourselves to the danger of seeing the first Magistrate in
     foreign pay without being able to guard against by displacing
     him. One would think the King of England well secured
     against bribery. Yet Charles II was bribed by Louis XIV.

2 FARRAND’S RECORDS 68-69 (Gouverneur Morris). And the addition of the

Foreign Emoluments Clause followed after Charles Pinckney had “urged

the necessity of preserving foreign Ministers & other officers of the U.S.

independent of external influence.” Id. at 389. The Constitution

elsewhere provides that, in “guarantee[ing] to every State in this Union

a Republican Form of Government,” the United States would “protect

each of them against Invasion.” U.S. Const. art. IV, § 4.

     Finally, as the Executive’s example of the War of 1812 illustrates,

concerns about conflicting claims of allegiances can create real-world

“problems for the governments involved.” Appellants’ Br. 34 (cleaned up).

As the Executive notes (at 40), the Citizenship Clause itself “was ratified

at a time when the focus [of Congress and the Executive] was on avoiding

dual nationality.” Given this context, it is especially appropriate for

requirements for U.S. citizenship in the Constitution to be read in

harmony with concerns about national security.

     B. The EO’s faithful reading of the Fourteenth Amendment’s text

is confirmed by the important national-security interests it serves. See


                                    9
Appellants’ Br. 36 (citing Exec. Order No. 14,159, § 1, 90 Fed. Reg. 8443

(Jan. 20, 2025)). Specifically, the EO tracks the reality that some illegal

aliens enter the United States to engage in “hostile activities, including

espionage, economic espionage, and preparations for terror-related

activities,” and that such aliens “present significant threats to national

security and public safety.” Exec. Order No. 14,159, § 1, 90 Fed. Reg.

8443. Concerns about illegal immigration and national security have long

shaped federal policy. For instance, Congress passed the Immigration

Reform and Control Act of 1986 a year after President Ronald Reagan

described illegal immigration as a “threat to national security.” James T.

Kimer, Landmarks in US Immigration Policy, NACLA.ORG (Sept. 25,

2007),         https://nacla.org/article/landmarks-us-immigration-policy.

Former Attorney General John Ashcroft likewise announced national-

security reforms after the 9/11 hijackers were “easily able to avoid contact

with immigration authorities and violate the terms of their visas with

impunity.” Attorney General Prepared Remarks on the National-

Security    Entry-Exit     Registration    System     (June     6,   2002),

https://www.justice.gov/archive/ag/speeches/2002/060502agpreparedrem

arks.htm. Other scholarship has explained that modern anti-illegal-alien



                                    10
enforcement policy is grounded in national security concerns. See, e.g.,

Kevin J. Fandl, Immigration Posses: U.S. Immigration Law and Local

Enforcement Practices, 34 J. LEGIS. 16, 18-20 (2008). As the Executive

argues (at 36), the Constitution leaves room for Congress and the

Executive Branch to respond to such threats with respect to

geographically derived birthright U.S. citizenship. As explained below,

the EO’s national-security aims are consistent with the Constitution.

     The Supreme Court has recognized national security as a

governmental interest of the highest order. See Holder v. Humanitarian

L. Project, 561 U.S. 1, 28 (2010). And it has consistently ruled that

national-security   interests   and        constitutional   rights   form   an

interconnected framework of carefully balanced policy considerations

regarding issues of immigration. See, e.g., Trump v. Hawaii, 585 U.S.

667, 702 (2018). By necessary implication, the EO affects such decisions

because a child born to parents covered by the EO who then returns from

abroad will have to seek admission as a non-citizen if and when he

chooses to return to the United States. See, e.g., Dep’t of State v. Munoz,

602 U.S. 899, 907 (2024) (“For more than a century, this Court has

recognized that the admission and exclusion of foreign nationals is a



                                      11
fundamental sovereign attribute exercised by the Government’s political

departments largely immune from judicial control.” (cleaned up)).

“Because decisions in these matters may implicate relations with foreign

powers, or involve classifications defined in the light of changing political

and economic circumstances, such judgments are frequently of a

character more appropriate to either the Legislature or the Executive.”

Hawaii, 585 U.S. at 702 (quoting Mathews v. Diaz, 426 U.S. 67, 81

(1976)).

     Of course, an executive official invoking national security alone

does not suffice; courts do not “abdicat[e] the judicial role” in the face of

the executive asserting such an interest. Humanitarian L. Project, 561

U.S. at 34. Rather, the Supreme Court gives “respect” to the

Government’s conclusions regarding national security while maintaining

the “obligation to secure the protection that the Constitution grants.” Id.

Importantly, the Court does not “substitute [its] own evaluation” of

“serious threats to our Nation and its people.” Id.

     Here, the Executive has explained why the EO forms an integral

part of President Trump’s efforts to repair the American immigration

system and respond to the urgent national-security crisis of unchecked



                                     12
migration at the Southern Border. See Exec. Order No. 14,159, § 1, 90

Fed. Reg. 8443 (explaining that President Trump’s immigration policy is

designed to fight the threat to “national security and public safety” from

unlawful immigration); see also Exec. Order No. 14,165, 90 Fed. Reg.

8467 (Jan. 20, 2025); Proclamation No. 10,886, 90 Fed. Reg. 8327 (Jan.

20, 2025) (declaring a national emergency at the southern border);

Proclamation No. 10,888, 90 Fed. Reg. 8333 (Jan. 20, 2025) (explaining

the President’s actions to protect the border under Article IV, Section 4

of the Constitution). As the Executive has explained, executing federal

policy consistent with the correct reading of the Citizenship Clause is a

key component of the President’s national-security efforts because it

removes incentives for unlawful immigration and closes loopholes that

can be exploited by foreign adversaries. See Appellant’s Br. 58.

     Notably, the EO addresses a vulnerability in citizenship derivation

that is well-known to the intelligence community. See generally

Appellants’ Br. 36. Birthright citizenship creates opportunities for dual

loyalty that can be exploited by malign foreign actors to cultivate

intelligence assets. Conferring U.S. citizenship at birth begins a long




                                   13
timeline that is difficult to track on an individual level, let alone

counteract or prosecute if it materializes into criminal espionage activity.

        From the standpoint of a foreign adversary, an individual who

appears to be a citizen of the target country is an ideal intelligence asset.

In the intelligence community, these assets known as “illegals”

masquerade as American citizens when in fact they are not. Foreign

actors deploy significant resources to create such assets, often by stealing

or assuming another’s identity. But that approach is costly and time-

consuming for the foreign adversary, with attendant risks for detection

and traceability. Well-publicized examples have come to light in recent

years. For example, a network of 10 Russian sleeper agents, including

Anna Chapman, was exposed in 2010 after a decade-long FBI

investigation. How the FBI Busted Anna Chapman and the Russian Spy

Ring,          ABC           NEWS           (Nov.          1,         2011),

https://abcnews.go.com/blogs/politics/2011/11/how-the-fbi-busted-anna-

chapman-and-the-russian-spy-ring. The program, known as the “Illegals

Program,” involved individuals living in the U.S. under deep cover for

many years, using stolen identities to pose as ordinary citizens while

gathering intelligence. See Kristin A. Vara, Espionage: A Comparative



                                     14
Analysis, 22 ILSA J. INT’L & COMP. L. 61, 68-70 (2015); see also, e.g.,

Shaun Walker, “I Thought I Was Smarter Than Almost Everybody”: My

Double Life as a KGB Agent, THE GUARDIAN (Feb. 11, 2017),

https://www.theguardian.com/world/2017/feb/11/thought-smarter-

everybody-kgb-spy-jack-barsky (interviewing Jack Barsky, an ex-KGB

spy who lived a double life in the U.S. under an assumed identity).

     But birthright U.S. citizenship lets foreign adversaries avoid many

of those pitfalls. With a round-trip plane ticket, a malign actor can send

an expecting mother to the United States, receive mother and baby on

return, indoctrinate and train the child, and then send the individual

back to the United States to engage in espionage activity. That

mechanism, for instance, stymies major advances in digital surveillance

and biometric technologies that make it harder for undercover agents to

remain anonymous and operate in the target country under a false

identity. See Kevin P. Riehle, Russia’s Intelligence Illegals Program: An

Enduring Asset, 35 INTELLIGENCE & NAT’L SEC. 385, 386 (2020). Thus,

with an extremely modest financial investment and the passage of time,

a foreign adversary can use geographically derived birthright citizenship

to create a nearly undetectable human intelligence asset with no bonds



                                   15
of affection for his country of birth and carte blanche access to the United

States. And as the example of Russia’s “Illegals Program” shows, malign

foreign actors are perfectly willing to make such long-term plays. See,

e.g., Riehle, supra, 386 (“Russian intelligence services remain proud of

their intelligence illegals program, claiming it is an object of envy for

Western intelligence services.”).

     The EO thus forms an important part of President Trump’s efforts

to improve national security. For example, many high-value foreign

officials cannot travel without advance permission, and law enforcement

at the U.S. border increases risks of apprehension for foreign adversaries

seeking to infiltrate the country. See, e.g., Walker, supra (describing the

“complex passport switches and documents left via dead drop” necessary

for a deep-cover Soviet spy to travel between the U.S. and Europe). The

Executive has taken significant steps to secure the border and deter

threats from unlawful immigration. See, e.g., Exec. Order No. 14,159, § 1,

90 Fed. Reg. 8443. And as noted in Part II, infra, the EO provides

additional avenues for screening potential malign actors from entering

the United States as non-citizens. Cf. Hawaii, 585 U.S. at 689 (describing

the system for “vetting” aliens seeking admission to the United States).



                                    16
The EO not only removes an incentive for illegal immigration, it removes

birthright citizenship as an attractive alternative for American

adversaries seeking to easily cultivate intelligence assets.

II.   National-Security Concerns Also Support the Executive in
      the Irreparable-Harm Analysis.

      Enjoining the EO threatens irreparable injury to the Executive and

the public, whose interests “merge.” Nken, 556 U.S. at 435. As the

Executive argues, an “injunction that prevents the President from

carrying out his broad authority and constitutional responsibility” for

immigration matters “is ‘an improper intrusion by a federal court into the

workings of a coordinate branch of the Government.’” Appellants’ Br. 57-

58 (quoting INS v. Legalization Assistance Project of the L.A. Cty. Fed’n

of Labor, 510 U.S. 1301, 1305-06 (1993) (O’Connor, J., in chambers)).

      Preserving Executive authority to function properly within the

national-security and foreign-affairs realm is of the highest importance.

See Hawaii, 585 U.S. at 704. “Judicial inquiry into the national-security

realm raises concerns for the separation of powers by intruding on the

President’s constitutional responsibilities in the area of foreign affairs.”

Id. (quoting Ziglar v. Abbasi, 582 U.S. 120, 142 (2017)) (cleaned up). And

there is a “heavy presumption of constitutionality to which a carefully


                                    17
considered decision of a coequal and representative branch of our

Government is entitled.” U.S. Dep’t of Labor v. Triplett, 494 U.S. 715, 721

(1990) (cleaned up); see also Hawaii, 585 U.S. at 704 (“Any rule of

constitutional law that would inhibit the flexibility of the President to

respond to changing world conditions should be adopted only with the

greatest caution, and our inquiry into matters of entry and national

security is highly constrained.” (cleaned up)).

     Granting citizenship to an individual is a profoundly consequential

action of sovereignty—after all, “in the exercise of its broad power over

immigration and naturalization, Congress regularly makes rules that

would be unacceptable if applied to citizens.” Reno v. Flores, 507 U.S. 292,

305-06 (1993) (cleaned up). That distinction is perhaps no clearer than in

cases touching on aliens and immigration. As this Court recognized in

upholding other national-security Executive actions, “Congress designed

an individualized vetting system that places the burden on the alien to

prove his admissibility.” Hawaii, 585 U.S. at 689. Rules governing the

conferral of citizenship thus implicate the “vetting” of individuals who

are or may become intelligence assets of a foreign adversary by virtue of

advantageously derived U.S. citizenship. Cf. Appellants’ Br. 36.



                                    18
Reversing the district court’s preliminary injunction helps alleviate any

irreparable harm from interfering with such Executive functions.

     Moreover,    the   injunction   can   have   serious   foreign-affairs

consequences regardless of the raw number of births involved or U.S.

citizenships conferred while this case is litigated on the merits. The EO

expresses President Trump’s position on a matter of domestic policy with

foreign-relations implications. It is beyond serious dispute that judicial

action can have profound effects on foreign policy and the range of options

available to the Executive in responding to national-security threats. Cf.,

e.g., Timothy Meyer & Ganesh Sitaraman, The National Security

Consequences of the Major Questions Doctrine, 122 MICH. L. REV. 55, 61,

80 (2023) (“Judicial action [in restraint of domestic Executive action] can

thereby weaken the executive branch’s hand on the international plane”).

     Courts are ill-suited to interfere with such matters of national

security and foreign affairs, let alone remedy them. After all, “[u]nlike

the President and some designated Members of Congress, neither the

Members of [the Supreme] Court nor most federal judges begin the day

with briefings that may describe new and serious threats to our Nation

and its people.” Boumediene, 553 U.S. at 797. The Supreme Court has



                                     19
emphasized that “[i]t is pertinent to observe that any policy toward aliens

is vitally and intricately interwoven with contemporaneous policies in

regard to the conduct of foreign relations, the war power, and the

maintenance of a republican form of government.” Harisiades v.

Shaughnessy, 342 U.S. 580, 588-89 (1952). Matters like these, which

involve complex national-security and foreign-affairs considerations, “are

so exclusively entrusted to the political branches of government as to be

largely immune from judicial inquiry or interference.” Id. at 589.

     The United States should “speak with one voice” on matters

affecting the nation’s foreign affairs. Crosby v. Nat’l Foreign Trade

Council, 530 U.S. 363, 381 (2000). The President has “a unique role in

communicating with foreign governments,” as “only the Executive has

the characteristic of unity at all times” that is necessary for diplomacy.

Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 14, 21 (2015). While the

Supreme Court has declined to recognize an unbounded Executive power

over foreign affairs in the face of contrary Congressional action, see id. at

20, the President here has chosen to exercise his authority in furtherance

of the Constitution of the United States. The district court’s preliminary

injunction interferes with the crucial “one voice” of the United States in



                                     20
matters of sovereignty and foreign affairs. Had Congress intended to

countenance such interference, it would be expected to “speak clearly”

and indicate as much. Cf., e.g., Henderson v. Shinseki, 562 U.S. 428, 436-

38 (2011) (explaining that Congress would have cast a deadline in

different language if it had intended the provision to be jurisdictional).

Congress has not done so here.

                            CONCLUSION

     The Court should reverse the preliminary injunction.

     Respectfully submitted.

     April 28, 2025                     /s/ Judd E. Stone II

     DANIEL Z. EPSTEIN                  JUDD E. STONE II
     AMERICA FIRST                      CHRISTOPHER D. HILTON
       LEGAL FOUNDATION                 ARI CUENIN
     611 Pennsylvania Ave. SE           STONE HILTON PLLC
       #231                             600 Congress Ave., Ste. 2350
     Washington, DC 20003               Austin, Texas 78701
     daniel.epstein@aflegal.org         judd@stonehilton.com
     (202) 964-3271                     (737) 465-7248

                                        Counsel for Amicus Curiae




                                   21
                 CERTIFICATE OF COMPLIANCE

     I certify that this document complies with the typeface

requirements of Rule 32(a)(5) and the typestyle requirements of Rule

32(a)(6) because this document was prepared in 14-point Century

Schoolbook, a proportionally spaced typeface, using Microsoft Word. See

Fed. R. App. P. 29(a), 32(g)(1). This document complies with the type-

volume limitation under Rule 29(a)(5) because it contains 4046 words

excluding the parts exempted under Rule 32(f).

                                 /s/ Judd E. Stone II
                                 Judd E. Stone II


                    CERTIFICATE OF SERVICE

     I certify that on April 28, 2025, an electronic copy of the foregoing

document was served via CM/ECF on all registered counsel and

transmitted to the Clerk of the Court.

                                 /s/ Judd E. Stone II
                                 Judd E. Stone II




                                   22
